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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES oF AMERICA
V‘ Crim. No. 17_232 (EGS)
MICHAEL T. FLYNN,

Defendant
JOINT STATUS REPORT

 

COMES NOW, the United States of America, by and through Special Counsel
Robert S. l\/[ueller, Ill, and the defendant through his counsel, and file this joint
status report to provide the Court With the current status of this matter.

1. On August 21, 2018, the Court ordered the parties to file a status
report by no later than September 17, 2018. The matter is now ready to be
scheduled for sentencing

2. Accordingly, the parties respectfully request that the Court set a date
for sentencing. The parties are available on November 28, 2018, or any of the
following seven business days. The parties also respectfully request that any
memoranda the parties are required to file With respect to sentencing be filed no
more than two Weeks prior to the date the Court selects for sentencing

Respectfully submitted,

 

 

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